
Allen, J.
delivered the opinion of the Court.
The act concerning appeals and writs of error and supersedeas, Code of Virginia, ch. 182, “§&gt; 3, p. 683, provides that no petition shall be presented for an appeal from or writ of error or supersedeas to a judgment of a County or Corporation court, when it is rendered on an appeal from a judgment of a justice ; nor to a judgment, decree or order of any other Court, where the matter in controversy is merely pecuniary, and not of greater amount than two hundred dollars, exclusive of costs. The words are general, and as they merely apply to the remedy, they extend to and comprehend all petitions to this Court, or a Judge thereof in vacation, for an appeal, writ of error or supersedeas, whether the judgment, decree or order was prior to or after the 1st July 1850, when the new Code took effect. The 18th sec., ch. 16, p. 101, and 2d sec., ch. 216, p. 800, of the Code, providing that the repeal of previous acts should not affect any right established, accrued or accruing be*234fore the 1st July 1850; or any prosecution, suit or proceeding pending on that day, do not operate so as to save to the party a remedy by way of appeal, writ of error or supersedeas, to this Court, allowed by previous actSj but ta]jen away by the law now in -force. The Court is therefore of opinion, that this Court has no jurisdiction to grant an appeal, writ of error or supersedeas to a judgment, decree or order rendered or made before the 1st July 1850, where the matter in controversy is merely pecuniary, and not of greater amount than 200 dollars, exclusive of costs, unless the petition had been presented to the Court, or some Judge thereof in vacation, previous to that day.
Appeal refused.
